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 6   Attorneys for Defendant JORGE SANDOVAL
 7

 8                                UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,           )
12                                       )                Case No. 2:11-cr-00119-04 WBS
                       Plaintiff,        )
13
                                         )                STIPULATION AND [PROPOSED]
14         vs.                           )                ORDER TO EXCLUDE TIME
                                         )
15   JORGE SANDOVAL,                     )
                                         )
16
                       Defendants.       )
17   ____________________________________/

18          The parties hereby stipulate that the status conference in this case be continued from
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     Monday, May 5, 2014, at 9:30 a.m. to Monday, June 9, 2014, at 9:30 a.m. The parties stipulate
20
     that the time between May 5, 2014, and June 9, 2014, should be excluded from the calculation of
21

22   time under the Speedy Trial Act. The parties stipulate that the ends of justice are served by the

23   Court excluding such time, so that counsel for the defendant may have reasonable time necessary
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     for effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
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     3161(h)(7)(B)(iv) and Local Code T-4. Moreover, the parties continue to engage in discussions
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     about a possible resolution that could benefit the defendant by significantly reducing his possible
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28   sentencing exposure in this case. For these reasons, the defendant agrees that a continuance.

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 1   Therefore the parties have stipulated to continue the status conference in this case. The parties
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     stipulate and agree that the interests of justice served by granting this continuance outweigh the
 3
     best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161 (h)(7)(A).
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 5
            The parties further request that this matter be taken off the May 5, 2014 calendar before

 6   Judge William B. Shubb and be rescheduled for June 9, 2014, at 9:30 a.m. before Judge Shubb.
 7                                                        Respectfully submitted
 8
                                                          LAW OFFICES OF TIM A. PORI
 9
     Date: April 30, 2014                                 /s/ Tim A. Pori_______________
10
                                                          TIM A. PORI
11                                                        Attorney for Defendant SANDOVAL

12

13
     Date: April 30, 2014                                 /s/ Jason Hitt (Authorized 4/30/2014)
14                                                        JASON HITT
                                                          Assistant United States Attorney
15

16

17                                                    ORDER

18           IT IS HEREBY ORDERED that the Status Conference in the above-entitled matter is
19
     continued to June 9, 2014, at 9:30 a.m. before the Honorable William B. Shubb and that the time
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     between May 5, 2014, and June 9, 2014, be excluded from the calculation of time under the
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22   Speedy Trial Act.

23   Dated: May 1, 2014
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